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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


   BELLA HEALTH AND WELLNESS
   et al.,                                           Case No. 1:23-cv-939-DDD-SKC

      Plaintiffs,

      v.

   PHIL WEISER, in his official capacity as
   Attorney General of Colorado, et al.,

      Defendants.


                            DECLARATION OF
                MONIQUE CHIREAU WUBBENHORST, M.D., M.P.H.

     I, Monique Chireau Wubbenhorst, pursuant to 28 U.S.C. § 1746, hereby declare

  as follows:

     1.    I am a practicing board-certified obstetrician-gynecologist with over 30 years’

  experience in patient care, teaching, research, health policy, public health, global

  health, and bioethics. I graduated from Mount Holyoke College and received my med-

  ical degree from Brown University and my master’s degree in public health from Har-

  vard University. I completed my residency in Obstetrics and Gynecology at Yale-New

  Haven Hospital and my postdoctoral fellowship in health services research at the

  Sheps Center for Health Services Research at the University of North Carolina-

  Chapel Hill. I joined the faculty at the Duke University School of Medicine in the

  Department of Obstetrics and Gynecology in 2003, a position I held until 2018. While

  at Duke I was a member of the Duke Institutional Review Board (IRB) for 15 years.

  I subsequently served as Senior Deputy Assistant Administrator in the Bureau for


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  Global Health at the United States Agency for International Development. I am cur-

  rently a Senior Public Policy Fellow at the De Nicola Center for Ethics and Culture

  at the University of Notre Dame. I also serve as a visiting consultant in Obstetrics

  and Gynecology at Tenwek Mission Hospital in Bomet, Kenya. I am licensed to prac-

  tice medicine in North Carolina and Indiana and am certified by the American Board

  of Obstetrics and Gynecology, a certification I have held since 1997.

     2.   My clinical career has focused on caring for women in underserved and disad-

  vantaged populations, especially African American and Native American communi-

  ties, with a focus on women with medical, social, and psychiatric comorbidities. I have

  worked in multiple domestic and international contexts, including inner-city Boston,

  rural North Carolina, the Veterans Administration, and Native American reserva-

  tions, as well as in Kenya, India, the Philippines, Kazakhstan, Ghana, South Sudan,

  Uganda, Nepal, and Cameroon.

     3.   I am a fellow of the American College of Obstetricians and Gynecologists and

  a fellow of the American Heart Association. I have authored over 20 peer-reviewed

  publications and have been a reviewer for peer-reviewed journals including The Brit-

  ish Journal of Obstetrics and Gynecology, Public Health, The Journal of Medical Eth-

  ics, PLOS One, Journal of General Internal Medicine, Public Health, Issues in Law

  and Medicine, and The North Carolina Medical Journal. My research interests in-

  clude the epidemiology and molecular biology of adverse pregnancy outcomes and re-

  productive health, health services research, racial-ethnic disparities in women’s

  health, adverse pregnancy outcomes and long-term cardiovascular health, maternal




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  mortality, women veterans’ health, and ethics in epidemiology and reproductive

  health.

     4.     My experience and qualifications are set forth in further detail in my curricu-

  lum vitae, which is attached hereto as Attachment A.

     5.     I have been asked by Plaintiffs to opine regarding Bella Health and Wellness

  v. Weiser, No. 1:23-cv-939-DDD-SKC, a legal action challenging the constitutionality

  of SB 23-190, a Colorado law that bans providing or publicizing abortion pill reversal.

  I have reviewed the declaration submitted by Dr. Rebecca Cohen dated October 3,

  2023, and am responding to it.

     6.     The opinions I express in this declaration are based on my education, training,

  experience, and ongoing familiarity with medical literature. These opinions are my

  own and do not represent the opinion of my employer or of any professional or other

  group.

                                         OPINIONS

  I. There is scientific evidence that supports the clinical use of progesterone
     to counteract the effects of mifepristone.

     7. There are multiple lines of scientific evidence that support the use of proges-

  terone to attempt to reverse the abortifacient action of mifepristone. These include,

  but are not limited to, the biochemistry of progesterone and its role in female fertility

  and pregnancy; studies on progesterone’s effectiveness in treating threatened miscar-

  riage; basic science evidence about how mifepristone works and the interactions be-




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  tween a receptor antagonist and receptor agonist; animal studies indicating that pro-

  gesterone can counteract the effects of mifepristone; and reports on the use of proges-

  terone following the administration of mifepristone for abortion.

      A. Progesterone and its role in female fertility and pregnancy

      8.   To understand how abortion pill reversal works, it is necessary to begin with

  the biochemistry of progesterone.

      9.   Progesterone is a naturally occurring hormone, so named because it promotes

  gestation, among other functions. 1 It plays an essential role in regulating the repro-

  ductive function of the uterus, ovaries, mammary glands, and brain, and is particu-

  larly critical to achieving and maintaining a healthy pregnancy. 2

      10. During the first ten weeks of pregnancy, progesterone is secreted by a highly

  specialized structure in the ovary (the corpus luteum), which forms after ovulation

  and is the main source of progesterone while the placenta develops. Once the placenta

  has grown to a certain size, it is the main source of progesterone during the remainder

  of pregnancy. 3

      11. Progesterone binds to the progesterone receptor in cells, and when it does,

  specific pathways in these cells are activated. Among other things, progesterone stim-




  1   See W. M. Allen et al., Nomenclature of Corpus Luteum Hormone, 136 Nature 303, 303 (1935)
  https://perma.cc/DV4P-W5BL (discussing identification of the “progestational hormone”).
  2   See generally Lucie Kolatorova et al., Progesterone: A Steroid with Wide Range of Effects in Physi-
  ology as Well as Human Medicine, 23 Int’l J. Molecular Scis., July 2022, https://perma.cc/V3JE-CGXF.
  3   Jessie K. Cable, Physiology, Progesterone, StatPearls Publishing (Michael H. Grider ed., 2022),
  https://perma.cc/VB6D-JY72.



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  ulates the formation of glands in the endometrium (the lining of the uterus), prepar-

  ing it for the implantation of the developing embryo (blastocyst). 4 It also stimulates

  the endometrium to produce glucose, proteins, and other nutrients that support the

  developing embryo. In late pregnancy, progesterone plays a role in the relaxation of

  smooth muscle cells, promoting uterine relaxation prior to delivery. 5

      12. Bioidentical progesterone, which is synthesized from steroid precursors, has

  the same chemical structure as naturally produced progesterone and has been used

  to support female fertility in a variety of ways for more than 50 years. 6 There are

  numerous and well-known indications for bioidentical progesterone therapy in both

  obstetrics and gynecology, including treatment of recurrent miscarriages, prevention

  of preterm birth, treatment of secondary amenorrhea (lack of menstrual cycles), treat-

  ment of excessive blood loss during menstruation, treatment of premenstrual syn-

  drome, hormonal therapy after surgical or natural menopause, and prevention and

  treatment of endometrial hyperplasia (thickening of the uterine lining). 7 Notably,

  progesterone is routinely used to treat luteal phase defect, a type of infertility, and is




  4   See Arri Coomarasamy et al., PROMISE: first-trimester progesterone therapy in women with a
  history of unexplained recurrent miscarriages – a randomised, double-blind, placebo-controlled, inter-
  national multicentre trial and economic evaluation, Health Tech. Assessment, May 2016, at 1,
  https://perma.cc/4BZH-NUUN.
  5  See N.E. Simons et al., The long-term effect of prenatal progesterone treatment on child development,
  behaviour and health: a systematic review, 128 BJOG: Int’l J. Obstet. & Gyn. 964, May 2021,
  https://perma.cc/8F83-EMSB.
  6   See Gian Carlo Di Renzo et al., Progesterone: History, facts, and artifacts, 69 Best Practice & Rsch.
  Clinical Obstetrics & Gynaecology 2 (2020), https://perma.cc/XKF3-CF4D.
  7   See Kolatorova et al., supra note 2.



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  also used during in vitro fertilization (IVF) treatment, where it is part of routine care

  to both support endometrial function and help prevent miscarriage.

     13. All uses of supplemental progesterone except for treatment of endometrial hy-

  perplasia (pathological thickening of the lining of the uterus) and secondary amenor-

  rhea (lack of menstrual cycles) are “off-label” uses, meaning that they do not appear

  on the FDA-approved labeling. In my experience, obstetricians and other physicians

  frequently prescribe drugs for off-label uses during pregnancy. Such drugs include

  tocolytics (i.e., drugs used to delay preterm labor) such as terbutaline, magnesium

  sulfate, nifedipine, non-steroidal anti-inflammatory drugs (NSAIDs), as well as am-

  picillin in preterm labor and diabetic medications such as glyburide and metformin

  for diabetes in pregnancy. In fact, the use of misoprostol for abortion is an off-label

  use.

     14. Several recent studies and a host of older studies have evaluated the use of

  progesterone to prevent or treat unexplained recurrent miscarriage or early preg-

  nancy bleeding. 8


  8   See, e.g., Hassan Shehata et al, FIGO Good Practice Recommendations on the use of progesterone
  in the management of recurrent first-trimester miscarriage, 161 Int’l J. Gyn. & Obstet. 3 (2023),
  https://perma.cc/YYB9-9FV9; Arri Coomarasamy et al., Progesterone to prevent miscarriage in women
  with early pregnancy bleeding: the PRISM RCT, Health Tech. Assessment, June 2020, at 1,
  https://perma.cc/QNY6-DBSQ; Arri Coomarasamy et al., Micronized vaginal progesterone to prevent
  miscarriage: a critical evaluation of randomized evidence, 223 Am. J. Obstetricians Gynecologists 167,
  167-76 (2020), https://perma.cc/G5ZN-3727; CB Okeke Ogwulu et al., The cost-effectiveness of proges-
  terone in preventing miscarriages in women with early pregnancy bleeding: an economic evaluation
  based on the PRISM trial, 127 BJOG: Int’l J. Obstet. & Gyn. 757 (2020), https://perma.cc/Z7VQ-TWH2;
  Arri Coomarasamy et al., A Randomized Trial of Progesterone in Women with Bleeding in Early Preg-
  nancy, 380 New Eng. J. Med. 1815 (2019), https://perma.cc/Z4F6-PXR7; David M. Haas et al., Proges-
  togen for preventing miscarriage in women with recurrent miscarriage of unclear etiology, Cochrane
  Database Systematic Revs. (2018), https://perma.cc/2D4R-YCDJ; Hayfaa A. Wahabi et al., Progestogen
  for treating threatened miscarriage, Cochrane Database Systematic Revs. (2018),
  https://perma.cc/7GH2-FRHQ; Hee Joong Lee et al., The Influence of Oral Dydrogesterone and Vaginal



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       15. One of the most recent studies, known as the Progesterone in Spontaneous

  Miscarriage (PRISM) study, examined the use of progesterone in prevention of recur-

  rent miscarriage. The PRISM study followed over 4,000 women at 48 hospitals in the

  United Kingdom—and found a 3% greater live birth rate among the women who re-

  ceived progesterone therapy. The study concluded that “[p]rogesterone therapy did

  not result in a significantly higher rate of live births among women with threatened

  miscarriage overall.” 9 But it did identify a differential benefit among women with

  prior miscarriages, showing a 15% greater live birth rate among women with early

  pregnancy bleeding and three or more prior miscarriages. 10 Arri Coomarasamy, lead

  author of the PRISM study, stated that “[o]ur research has shown that progesterone

  is a robust and effective treatment option” that “could prevent 8[,]450 miscarriages a

  year in the UK.” 11

       16. Dr. Cohen misreads these results, selectively claiming that the PRISM study

  “did not find any statistically significant increase in live births.” 12 But she ignores

  the “increasing live birth rates according to the number of previous miscarriages”




  Progesterone on Threatened Abortion: A Systematic Review and Meta-Analysis, 2017 BioMed Research
  Int’l, https://perma.cc/H699-NJEP; Arri Coomarasamy et al., PROMISE: first-trimester progesterone
  therapy in women with a history of unexplained recurrent miscarriages – a randomised, double-blind,
  placebo-controlled, international multicentre trial and economic evaluation, Health Tech. Assessment,
  May 2016, at 1, https://perma.cc/4BZH-NUUN.
  9   See Coomarasamy et al., Progesterone to prevent miscarriage in women with early pregnancy bleed-
  ing: the PRISM RCT, supra note 8 (emphasis added).
  10   Id.
  11  Jacqui Wise, NICE recommends progesterone to prevent early miscarriage, British Med. J. (Nov.
  24, 2021), https://perma.cc/HLD7-7Y8J.
  12   Cohen Decl. ¶ 16.



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  among women who received progesterone therapy. 13 As the study authors explained

  in a follow-up analysis, PRISM in fact shows a “small but positive treatment effect”

  from progesterone therapy among women with a history of miscarriage. 14 The au-

  thors therefore recommended that “the information [about progesterone] should be

  communicated to women at high risk of miscarriages,” concluding that “[w]e believe

  that a woman at high risk of having a miscarriage may not need absolute scientific

  certainty to choose to have a treatment. If she is informed about the uncertainty

  around treatment effects and available safety data, then she could decide for herself

  the right course of action.” 15

       17. Dr. Cohen goes on to quote a 2019 editorial by Dr. Michael Greene that claims

  the PRISM study as proof that the “enthusiasm” for progesterone therapy to treat

  threatened miscarriage “was driven by overestimation of the incidence of pregnancy

  loss in the absence of therapy and by reports of seeming success in uncontrolled case

  series.” 16 But as noted above, the authors of PRISM rebutted Greene’s view of the

  study—that the only effects of progesterone are “small” and “statistically insignifi-

  cant”—in a subsequent publication. And the purportedly “uncontrolled case series”

  cited by Greene is a 1948 study on the use of the estrogen diethylstilbestrol (DES) to

  prevent complications of pregnancy. DES is a semisynthetic estrogen once used by


  13  Arri Coomarasamy et al., Micronized vaginal progesterone to prevent miscarriage: a critical evalu-
  ation of randomized evidence, 223 Am. J. Obstetricians Gynecologists 167, 167-76 (2020),
  https://perma.cc/G5ZN-3727.
  14   Id.
  15   Id.
  16 Cohen Decl. ¶ 16 (emphasis in original) (quoting Michael F. Greene, Editorial, Progesterone for
  Threatened Abortion, 380(19) N. Eng. J. Med. 1867 (2019) (Cohen Decl. Ex. L)).



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  clinicians to try to reduce the risk of miscarriage in women prone to pregnancy loss,

  among other reasons. It was pulled from the market after a generation of women who

  were exposed to it in utero developed vaginal cancer. That study does not use proges-

  terone to treat threatened miscarriage.

       18. In November 2021, the UK’s National Institute of Health and Care Excellence

  (NICE) published new guidelines recommending progesterone therapy for women

  with early pregnancy bleeding and at least one previous miscarriage. 17 The recom-

  mendation followed a Cochrane review of studies on progesterone use, including the

  PRISM study. Gillian Leng, NICE’s chief executive, stated that “progesterone will not

  be able to prevent every miscarriage,” but “will be of benefit to some women and, as

  an inexpensive treatment option, can be made available to women on the NHS from

  today.” 18

       19. Importantly, there is no evidence that progesterone poses a safety risk to preg-

  nant women or to their embryos or fetuses. The NICE committee found “no evidence

  of harms for women or babies” from the use of progesterone, including “no increase

  in risk of stillbirth, ectopic pregnancy, congenital abnormalities or adverse drug re-

  actions.” 19 The American Society for Reproductive Medicine (ASRM) has similarly

  concluded: “The weight of available evidence indicates that the most common forms



  17 Ectopic pregnancy and miscarriage: diagnosis and initial management, National Institute for
  Health and Care Excellence (NICE) (updated Nov. 24, 2021), https://perma.cc/Y9TE-KCY5 (Guideline
  NG126, Recommendation 1.5.2).
  18   Wise, supra note 11.
  19 Ectopic pregnancy and miscarriage: diagnosis and initial management, National Institute for
  Health and Care Excellence (NICE), 16 (November 2021), https://perma.cc/4W4X-Q95Y (Guideline
  NG126 Update).



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  of [progesterone] supplementation during early pregnancy pose no significant risk to

  mother or fetus.” 20

       20. Progesterone received FDA approval in 1998. 21 It is classified as a “Cate-

  gory B” drug for pregnant women—in the same risk category as Tylenol, the most

  commonly used pain reliever during pregnancy. 22

       B. The abortion pill

       21. What is commonly known as the abortion pill refers to the use of prescribed

  drugs to terminate pregnancy. This procedure is also sometimes known as “medica-

  tion abortion,” “medical abortion,” or “chemical abortion.”

       22. The current abortion-pill regimen involves two drugs, mifepristone (marketed

  originally as “RU-486” and now as “Mifeprex”) and misoprostol. Under the current

  protocol, a woman takes 200 milligrams of mifepristone orally, followed up to 48 hours

  later by 800 micrograms of misoprostol buccally (i.e., in the cheek). 23

       23. Mifepristone is a synthetic steroid developed in the 1980s by a research team

  led by Etienne-Emile Baulieu at the French pharmaceutical company Roussel-

  Uclaf. 24 Mifepristone is a progesterone antagonist that works by binding to—and

  blocking—the progesterone receptors on the nuclear membranes of cells in the uterus


  20  Prac. Comm. of the Am. Soc. for Reprod. Med., Progesterone Supplementation During the Luteal
  Phase and in Early Pregnancy in the Treatment of Infertility: an Educational Bulletin, 89 Fertility &
  Sterility 789, 791 (2008), https://perma.cc/X39A-VMRH.
  21   FDA, Approval Letter (Dec. 16, 1998), https://perma.cc/M7T7-VSDL.
  22 FDA, Prometrium Label at 15, https://perma.cc/CR46-2FTS; Prometrium Prescribing Information,
  Drugs.com, https://perma.cc/RDN3-WNQ8.
  23   FDA, Mifeprex Label at 1, https://perma.cc/JW69-KNND.
  24 See generally The Antiprogestin Steroid RU 486 and Human Fertility Control (Etienne-Emile
  Baulieu & Sheldon J. Segal eds., 1985), https://perma.cc/UCT3-CS3T.



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  and throughout the body. 25 As Baulieu put it, the progesterone receptors are like a

  keyhole, and mifepristone is the “false key” that fits the lock but cannot open it. 26

       24. By blocking progesterone receptors, mifepristone causes disruption of the de-

  veloping human embryo’s implantation site and suppresses the production of hCG

  (human chorionic gonadotropin) and progesterone by the placenta. This prevents ox-

  ygen and nutrition from being transported to the developing embryo, eventually re-

  sulting in the death of the embryo and its detachment from the endometrium. 27 Mif-

  epristone also softens the cervix and increases for the sensitivity of the uterus to

  agents that cause uterine contractions. 28

       25. As Dr. Cohen correctly acknowledges, mifepristone alone is not always effec-

  tive in ending a pregnancy. 29 Misoprostol is included in the abortion pill regimen to

  improve its overall efficacy rate and achieve complete expulsion of the embryo. Miso-

  prostol works by binding to smooth muscle cells in the uterine lining, causing con-

  tractions that mechanically expel the embryo, placenta, and membranes from the

  uterus.




  25  See id. at 276 (“Our results confirm that RU 486 behaves as a progesterone antagonist at the
  receptor level.”).
  26  Cristine Russell, Chemical Found by French Could Lead to Monthly Birth Control Pill, Washing-
  ton Post (Apr. 20, 1982), https://perma.cc/6VA5-5ZXJ.
  27   Marja-Liisa Swahn & Marc Bygdeman, The effect of the anti-progestin RU486 on uterine contrac-
  tility and sensitivity to prostaglandin and oxytocin, 95 BJOG: Int’l J. Obstet. & Gyn. 126-134, Feb.
  1988, https://t.ly/Bl-OK.
  28  Mary L. Davenport et al., Embryo Survival After Mifepristone: A Systematic Review of the Litera-
  ture, 32 Issues L. & Med. 3 (2017), https://perma.cc/9YXB-9HGR.
  29   Cohen Decl. ¶ 9.



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       26. According to a scoping review (DeBeasi) published in July 2023, the continuing

  pregnancy rate for women who take mifepristone alone is generally 25% or less for

  gestational ages of 49 days or less. 30 This result is consistent with a 2017 paper (Dav-

  enport) that analyzed data from early mifepristone studies and concluded that the

  continuing pregnancy rate after mifepristone alone was up to 23%. 31

       27. Dr. Cohen’s response to the DeBeasi study is to complain that the journal that

  published it is a publication of the Catholic Medical Association, and “not a journal

  that is typically utilized by OB/GYNs for dissemination of clinically relevant data.” 32

  But whether a journal is devoted to the “dissemination” of OB-GYN clinical data is

  irrelevant to the strength or accuracy of a particular study. Indeed, numerous other

  non-OB-GYN journals—including PLOS One, on which Dr. Cohen serves as a re-

  viewer 33—can and do publish articles of interest to OB-GYNs.

       28. Dr. Cohen goes on to denigrate the credentials of the study author, Paul

  DeBeasi, complaining that he is “not a physician” and that he graduated from “a small

  Catholic university.” 34 It is worth noting that Mr. DeBeasi is the former chief of re-

  search for Gartner, one of the most prestigious research organizations not just in the

  country, but in the world. And as Dr. Cohen also admits, “[t]he purpose of a scoping


  30 Paul L.C. DeBeasi, Mifepristone Antagonization with Progesterone to Avert Medication Abortion:
  A Scoping Review, The Linacre Quarterly (July 2023), https://perma.cc/27RP-8HU5.
  31  Davenport et al., supra note 28; see also Mitchell Creinin et al., Mifepristone Antagonization with
  Progesterone to Prevent Medical Abortion: A Randomized Controlled Trial, 135(1) Obstetrics & Gyne-
  cology 158 (2020), https://perma.cc/6H6B-KUXS (estimating that “only 25%” of patients receiving mif-
  epristone and placebo would have continuing pregnancies).
  32   Cohen Decl. ¶ 31.
  33   Id. ¶ 3.
  34   Id. ¶ 31.



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  review is to synthesize evidence”—and she offers no critique of either the review’s data

  analysis (which is sound) or its conclusion confirming the 25% or less continuing preg-

  nancy rate for women who take mifepristone alone. 35 Instead, she cites a statistic

  that appears to be irrelevant to a discussion of Mr. DeBeasi’s paper, from an article

  on outcomes following medication abortion. 36

       29. Dr. Cohen’s claim that “as many as 46%” of women who take mifepristone

  without misoprostol will continue their pregnancies is not supported by solid data. 37

  The 46% figure rests on a single study with important flaws (Zheng) that defined

  “persisting pregnancy” as “no expulsion of the conceptus” and “gradual” increase of

  serum or urine hCG. 38 The Zheng study failed to use an ultrasound to verify the pres-

  ence of a living embryo—and thus failed to distinguish between a continuing preg-

  nancy (i.e., a living fetus) and retained fetal and placental parts (i.e., an incomplete

  abortion) or ectopic pregnancy. 39 The 2017 Davenport paper carefully analyzed data

  from early mifepristone studies and concluded that the Zheng study was “not reliable

  for determining the rate of embryo survival.” 40




  35   Id. at ¶ 32 (emphasis added).
  36 Id. (citing Kelly Cleland et al., Significant Adverse Events and Outcomes After Medical Abortion,
  121(1) Obstetrics & Gynecology 166-71 (2013) (Cohen Decl. Ex. P)).
  37 Cohen Decl. ¶ 9 (citing Zheng Shu-rang, RU 486 (Mifepristone): Clinical Trials in China, 149 Acta
  Obstetricia Gynecologica Scand. Suppl. 19, 21 (1989) (Cohen Decl. Ex. E)).
  38  Zheng Shu-rang, RU 486 (Mifepristone): Clinical Trials in China, 149 Acta Obstetricia Gynecolog-
  ica Scand. Suppl. 19, 21 (1989) (Cohen Decl. Ex. E).
  39   DeBeasi, supra note 30.
  40 See, e.g., Davenport et al., supra note 28; cf. Creinin et al., supra note 31 (estimating that “only
  25%” of patients receiving mifepristone and placebo would have continuing pregnancies).



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       C. Abortion pill reversal

       30. When a woman has taken mifepristone and then decides that she wishes to

  continue her pregnancy, it no longer makes sense for her to take misoprostol. The

  first step in halting the abortion pill process is for the patient not to take misoprostol.

       31. Health care providers may then help the woman by prescribing progesterone

  in an attempt to overcome the progesterone-blocking effects of mifepristone and

  maintain the pregnancy. Administering progesterone in these circumstances is com-

  monly known as “abortion pill reversal.”

       32. Dr. Cohen opines at length about the importance of decisional certainty,

  claiming that it is “exceedingly rare” for women to change their mind about abortion,

  and that “somewhere between 0.005% and .3% of patients change their mind after

  taking mifepristone.” 41 But the policy guideline paper she cites for that statistic—by

  Alice Mark of the National Abortion Federation—states that “[i]n most clinical trials

  of early medication abortion, the number of subjects taking mifepristone without miso-

  prostol is not reported.” 42 In other words, the statistic Dr. Cohen touts for the propo-

  sition that “patients … rarely change their minds after taking mifepristone” derives




  41  Cohen Decl. ¶ 11; see also id. ¶ 40 (“the data suggests far fewer than 1% of women elect to continue
  their pregnancies after taking mifepristone”).
  42  Alice Mark et al., When Patients Change Their Minds After Starting an Abortion: Guidance from
  the National Abortion Federation’s Clinical Policies Committee, Contraception 101(5):283-285 (2020)
  (emphasis added), https://perma.cc/JVL7-7SH9.



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  from a policy guideline document disclosing that no such data is reported in most

  clinical trials. 43

       33. Like most other uses of supplemental progesterone, the use of progesterone in

  abortion pill reversal is an “off-label” use.

       34. The basic biochemical premise of abortion pill reversal is that the activity of

  a receptor antagonist can be inhibited by increasing the concentration of the receptor

  agonist. 44 Put differently, it is well established that the effect of competitive inhibi-

  tors (e.g., mifepristone) that block substrates (e.g., progesterone) can be thwarted by

  adding more substrate. 45 Abortion pill reversal—which involves administering a sur-

  plus of progesterone to outcompete the effects of the mifepristone—is modeled on

  these basic principles of biochemistry.

       35. Counteracting the effects of a receptor antagonist by introducing higher doses

  of the receptor agonist is not a new idea. One example is treatment of carbon monox-

  ide poisoning. In normal respiration, oxygen in the lungs binds to the hemoglobin



  43  Cohen Decl. at 5. Dr. Cohen further relies on the rigor of her own initial consultation with abortion
  patients, stating that she “ensure[s] they are not under duress, being coerced into obtaining an abor-
  tion, or uncertain about their decision,” and that she “take[s] a detailed history from the patient,”
  “screen[s] for risk factors for domestic violence,” and “separate[s] the patient” from any family mem-
  bers or intimate partners present “to make sure they are not being coerced or under threat of harm.”
  Id. ¶ 12. But even assuming all that is true, Dr. Cohen does not—and cannot—testify that comparable
  practices are followed in every clinic in Colorado. More importantly, Dr. Cohen fails to acknowledge
  that the FDA’s 2016 REMS for mifepristone “[r]emov[ed] … the instruction that administration of
  misoprostol must be done in-clinic,” i.e., in person with a physician. FDA Summary Review of 2016
  Amendments at 2 (Mar. 29, 2016), https://perma.cc/D2HE-KSD5. It is simply not possible to follow the
  screening mechanisms Dr. Cohen identifies when the doctor-patient relationship is limited to a single
  telehealth appointment.
  44  See generally Barbara J. Pleuvry, Receptors, agonists and antagonists, 5 Neurosurgical Anaesthe-
  sia and Intensive Care, Pharmacology 350 (2004), https://perma.cc/9N6R-X4XA.
  45  See John W. Pelley, Elsevier’s Integrated Review Biochemistry (2d ed. 2011) 33-34,
  https://perma.cc/4EVE-G6Y6.



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  molecule in red blood cells in the lungs, and then is carried to tissues throughout the

  body. Carbon monoxide causes hypoxia (low oxygen) because it binds more tightly to

  hemoglobin than oxygen—its affinity for hemoglobin is more than 200 times that of

  oxygen. 46 But when a patient with carbon monoxide poisoning arrives in the emer-

  gency room, she is treated with high-flow oxygen therapy. That is because, even

  though carbon monoxide binds more tightly to hemoglobin than oxygen, carbon mon-

  oxide binding to the hemoglobin molecule is reversible. In other words, oxygen can

  effectively compete with, and outcompete, carbon monoxide for hemoglobin binding

  sites.

       36. Dr. Cohen states that “there is no reliable scientific evidence supporting the

  use of exogenous progesterone to break mifepristone’s bind to the progesterone recep-

  tors.” 47 This statement is false. Below are some of the studies, from both the basic

  science and clinical literature, showing that progesterone can effectively compete

  with and outcompete mifepristone for progesterone binding sites.

       37. Animal studies indicate that administering additional progesterone can coun-

  teract the effects of mifepristone. In 1989, researchers designed a study (Yamabe) to

  investigate “the role of progesterone in the maintenance of pregnancy” using a popu-

  lation of pregnant rats. 48 After four days, only 33.3% of the rats who received mife-




  46  Lindell K. Weaver, Carbon Monoxide Poisoning, 360(12) New Eng. J. Med. (2009),
  https://perma.cc/D6AA-CTXB.
  47   Cohen Decl. ¶ 17.
  48  Shingo Yamabe et al., The Effect of RU486 and Progesterone on Luteal Function During Pregnancy,
  65 Folia Endocrinologica Japonica 497 (1989), https://perma.cc/FY3C-ADAD.



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  pristone remained pregnant—but 100% of the rats who were given progesterone sim-

  ultaneously with mifepristone remained pregnant. The Yamabe study therefore indi-

  cates that progesterone can counteract mifepristone’s effectiveness in blocking pro-

  gesterone receptors.

       38. Another animal study (Camilleri & Sammut) published in July 2023 supports

  that same conclusion. Researchers designed a follow-on to the Yamabe study to eval-

  uate the “non-simultaneous, subsequent administration” of progesterone following

  mifepristone in a population of pregnant rats. 49 No rats who received mifepristone

  alone at first-trimester human equivalent (approximately 4-6 weeks human gesta-

  tion) remained pregnant, while 81.3% of rats who received mifepristone followed by

  progesterone at the same stage remained pregnant. The study concludes that “[t]he

  administration and actions of the national agonist, progesterone, in the presence of

  the antagonist, mifepristone, appears to be in concordance with the literature and

  our understanding of the pharmacological functioning of reversible competitive an-

  tagonism, where sufficient levels of the agonist can override a given concentration of

  an antagonist.” 50




  49  Christina Camilleri & Stephen Sammut, Progesterone-mediated reversal of mifepristone-induced
  pregnancy termination in a rat model: an exploratory investigation, 13 Scientific Reports 10942 (2023),
  https://perma.cc/4SAL-DDP3.
  50   Id.



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       39. In 2012, Dr. George Delgado and Dr. Mary Davenport published a small case

  series that followed seven women who had taken mifepristone and then received pro-

  gesterone therapy after seeking medical assistance to maintain their pregnancies. 51

  Four of the six women (66%) who completed the study carried their pregnancies to

  term and delivered live infants. No birth defects were observed.

       40. A similar small case series out of Australia (Garratt & Turner) was published

  in the European Journal of Contraceptive and Reproductive Health Care in 2017. 52

  In that series, two out of three women (66%) who received progesterone therapy after

  ingesting mifepristone carried their pregnancies to term and delivered healthy live

  infants.

       41. In 2018, Dr. George Delgado and his co-authors published a larger case series

  that followed 754 pregnant women who had taken mifepristone, but had not yet taken

  misoprostol, and were interested in reversing its effects. The 2018 study analyzed the

  charts of 547 women who had ingested mifepristone within the last 72 hours and then

  received progesterone therapy. 53 The study found an overall fetal survival rate of

  48%. 54




  51 George Delgado & Mary L. Davenport, Progesterone use to reverse the effects of mifepristone, 46
  Annals of Pharmacotherapy 1723 (2012), https://perma.cc/EKF3-R8QA.
  52   Deborah Garratt & Joseph V. Turner, Progesterone for preventing pregnancy termination after in-
  itiation of medical abortion with mifepristone, 22 Eur. J. Contraceptive & Reprod. Health Care 472
  (2017), https://perma.cc/WTG8-3DDX.
  53 George Delgado et al., A Case Series Detailing the Successful Reversal of the Effects of Mifepristone
  Using Progesterone, 33 Issues L. & Med. 21, 25-26 (2018), https://perma.cc/4WZM-5EWU.
  54   Id. at 26-27.



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       42. The 2018 Delgado study showed even higher survival rates when the patients

  were divided into treatment subgroups. The subgroup that received progesterone in-

  tramuscularly showed fetal survival rates of 64%, and the subgroup that received a

  high dose of oral progesterone followed by daily oral progesterone until the end of the

  first trimester had survival rates of 68%. 55

       43. The 2018 Delgado study used data from a previous study as a historical con-

  trol to determine how these fetal survival rates compared to those of women who took

  mifepristone alone. That data was derived from a systematic review, published by Dr.

  Davenport in 2017, that surveyed the existing literature on outcomes for women who

  had taken mifepristone but not misoprostol and found fetal survival rates that ranged

  from 10% to 23.3%. 56 In the 2018 study, Dr. Delgado and his co-authors chose to use

  a number for historical controls (25% survival) that was higher than Dr. Davenport’s

  highest number (23.3% survival). Even so, the fetal survival rates for women who

  received progesterone therapy—48% up to 68%—compare favorably to the baseline

  number.

       44. Notably, the 2018 Delgado study found no increased risk of birth defects after

  progesterone therapy. This result is consistent with other studies that have found no

  increased incidence in birth defects in infants born after exposure to mifepristone in




  55   Id. at 26-27.
  56   Davenport et al., supra note 28.



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  the first trimester. 57 The 2018 Delgado study also found that the rate of preterm de-

  livery among women who received progesterone therapy was 2.7%, compared with a

  10% average in the general population in the United States. 58

       45. Even before the 2018 Delgado study was published, Dr. Harvey Kliman, the

  director of the reproductive and placental research unit at the Yale School of Medi-

  cine, told the New York Times that using progesterone to reverse the effects of mife-

  pristone “makes biological sense” and is “totally feasible.” 59 Dr. Kliman further stated

  that “if one of his daughters came to him and said she had somehow accidentally

  taken mifepristone during pregnancy … he would tell her to take 200 milligrams of

  progesterone three times a day for several days, just long enough for the mifepristone

  to leave her system: ‘I bet you it would work.’” 60

       46. Even more telling is the 2020 ACOG joint practice bulletin. As discussed be-

  low, infra at ¶64, Dr. Cohen cites the joint bulletin in support of her claim that “there

  is no evidence suggesting that using progesterone after taking mifepristone increases

  the likelihood of a pregnancy continuing.” 61 But that same bulletin also warns that

  “[p]atients who select depot medroxyprogesterone acetate (DMPA)”—a synthetic pro-

  gesterone-like steroid—“for contraception should be counseled that administration of


  57  See, e.g., FDA, Mifeprex Label at 9, https://perma.cc/JW69-KNND (noting that no teratogenic ef-
  fects have been noted in experiments with rats and mice).
  58   Delgado et al., supra note 53.
  59 Ruth Graham, A New Front in the War Over Reproductive Rights: ‘Abortion-Pill Reversal’, N.Y.
  Times, July 18, 2017, https://perma.cc/CN75-8YEU.
  60   Id.
  61  Cohen Decl. ¶ 35 (citing Am. Coll. of Obstetricians & Gynecologists, Practice Bulletin No. 225:
  Medication Abortion up to 70 Days of Gestation, 136 Obstetrics & Gynecology 1, 3 (2020) (Cohen Decl.
  Ex. S)).



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  DMPA on day 1 of the medication abortion regimen may increase the risk of ongoing

  pregnancy.” 62 It goes on to state:

       Concern has been raised that the immediate use of hormonal contraception
       that contains progestins could theoretically interfere with medication abortion
       efficacy … DMPA injection at the time of mifepristone administration may
       slightly increase the risk of an ongoing pregnancy. In a randomized trial that
       evaluated the effects of DMPA injection timing on medication abortion out-
       comes, ongoing pregnancy was more common among those randomized to re-
       ceive DMPA injection on the day of mifepristone administration compared with
       those who received DMPA at a follow-up visit (3.6% versus 0.9%; 90% CI, 2.7
       [0.4–5.6]). 63

  Thus, ACOG itself warns patients that using a progestin—a synthetic progesterone-

  like compound—on the same day as mifepristone decreases the effectiveness of mife-

  pristone and “increase[s] the risk of ongoing pregnancy.” That warning is consistent

  with the overall body of scientific evidence that supports abortion pill reversal.

        47.    Finally, the same study cited by Dr. Cohen—and ACOG, and the National

  Abortion Federation, and many others—in support of alleged safety concerns about

  abortion pill reversal in fact shows progesterone’s effectiveness to reverse the effects

  of mifepristone. As discussed below, infra at ¶¶ 65-67, Dr. Mitchell Creinin attempted

  to conduct a randomized study on the “efficacy and safety” of abortion pill reversal. 64

  The study was designed to enroll 40 pregnant women in two control groups—one re-

  ceiving mifepristone followed by progesterone, and the other receiving mifepristone

  followed by a placebo. But the study was halted after 12 women were enrolled, and




  62  Am. Coll. of Obstetricians & Gynecologists, Practice Bulletin No. 225: Medication Abortion up to
  70 Days of Gestation, 136 Obstetrics & Gynecology 1, 8 (2020) (emphasis added) (Cohen Decl. Ex. S).
  63   Id. at 8-9.
  64   Creinin et al., supra note 31.



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  only 10 women completed it. Notably, four of the five women (80%) in the progester-

  one group of the Creinin study successfully maintained their pregnancies, as docu-

  mented by fetal cardiac activity. In contrast, only two of the women in the placebo

  group (40%) maintained their pregnancies. These results are also consistent with the

  overall body of scientific evidence that supports abortion pill reversal.

       D. Dr. Cohen’s summary of the scientific evidence is selective and inac-
          curate

       48. Dr. Cohen opines that “there is no scientific support for so-called ‘medication

  abortion reversal.’” 65 But she bases this erroneous conclusion on an incomplete re-

  view of the relevant literature and a selective and inaccurate summary of the scien-

  tific evidence.

       49. Notably, Dr. Cohen does not acknowledge—much less dispute—the animal

  studies indicating that progesterone can counteract the effects of mifepristone, or the

  Australian case series, or the efficacy results of the Creinin study. Nor does she ad-

  dress the ACOG Practice Bulletin warning that use of a progestin on the same day as

  mifepristone “increase[s] the risk of ongoing pregnancy.” And as noted above at ¶¶ 16-

  17, her attempt to downplay the effects of progesterone in the PRISM study misreads

  the relevant results and is rebutted by the PRISM authors themselves.

       50. Instead, Dr. Cohen focuses all of her attention and criticisms on the two stud-

  ies by Dr. George Delgado. These critiques—many of which are flawed or overstated

  or both—fail to show that there is “no scientific support” for abortion pill reversal. 66


  65   Cohen Decl. at 8 (cleaned up).
  66   Id. at 8; id. ¶¶ 15, 18-30.



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     51. To begin, many of Dr. Cohen’s critiques boil down to the fact that Dr. Delgado’s

  studies are case series rather than randomized controlled trials. In a randomized con-

  trolled trial, study participants are carefully selected to minimize differences between

  patient groups. They are then randomly assigned either to a treatment group or a

  control group. The treatment group receives the treatment at issue, and the control

  group receives either a placebo or standard treatment. By contrast, a case series in-

  volves a collection of reports on the treatment of individual patients with the same

  condition. A randomized controlled trial is generally considered the “gold standard”

  in medical research.

     52. In some clinical situations, case series and observational studies are the only

  appropriate source of data, since randomizing one group of patients to a placebo

  would be unethical. For example, it would be unethical to use a placebo arm in a study

  of abortion pill reversal where the women have ingested mifepristone but then de-

  cided to continue their pregnancies.

     53. Physicians can and do use the results of case series to integrate innovative

  therapeutic treatments into their practices. Case series are commonly used in studies

  involving pregnant women. Many drugs used in obstetrics and gynecology came into

  clinical usage based on data from case series. These include magnesium sulfate for

  prevention of preterm labor and eclampsia (seizures with high blood pressure in preg-

  nancy); terbutaline for prevention of preterm birth; nifedipine for prevention of pre-

  term birth; hydralazine for control of hypertension in pregnancy; and methotrexate

  for treatment of ectopic pregnancy, among others. Notably, mifepristone itself was




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  approved by the FDA based on non-blinded, non-randomized studies. 67 None of these

  studies were randomized controlled trials.

       54. Dr. Cohen critiques the 2012 Delgado study because “[a] six-person sample

  size is far too small to draw any statistically significant generalizations.” 68 But the

  2012 Delgado study, like most case series, does not present any statistical analyses.

       55. Dr. Cohen further claims that the 2018 Delgado study failed to “adhere[] to

  any ethical and regulatory standards of clinical trials,” failed to “use a concurrent

  control group,” and failed to use a single progesterone regimen. 69 But the 2018 Del-

  gado study was not a “clinical trial[].” Rather, the study makes clear that its analysis

  is based on data collected from the abortion pill reversal hotline: “Subjects called an

  informational hotline linked to an informational website and staffed by nurses and a

  physician assistant. After receiving information about the reversal process, those who

  decided to proceed with reversal were referred to physicians and mid-level practition-

  ers in their respective geographic areas for treatment.” 70 The study did not use a con-

  current control group because it was not a case-control study. And because the au-

  thors were collecting real-world data on different protocols in use, it is not surprising

  that different regimens were included.




  67 Irving M. Spitz et al., Early Pregnancy Termination with Mifepristone and Misoprostol in the
  United States, 338(18) N. Eng. J. Med. 1241 (1998), https://perma.cc/P2RV-C6GC.
  68   Cohen Decl. ¶ 19.
  69   See, e.g., id. ¶¶ 20, 25, 29-30.
  70   Delgado et al., supra note 53.



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       56. Dr. Cohen further states that Dr. Delgado and his co-authors originally la-

  beled the 2018 study an “observational case study,” which she claims—without cita-

  tion—is “not a study design generally used in medical research.” 71 This is not true.

  The term “observational case study” is a legitimate study design documented in the

  medical literature. 72

       57. Dr. Cohen further alleges “selection bias” because patients were included in

  the Delgado studies after an ultrasound screening confirmed a living embryo prior to

  the first progesterone dose. 73 But the purpose of the studies was to evaluate the use

  of progesterone in reversing the effects of mifepristone and continuing the pregnancy.

  It would make no sense to administer progesterone to a woman with a dead embryo

  or to include those patients in the analysis.

       58. Dr. Cohen also criticizes the Institutional Review Board (IRB) approval of the

  2018 Delgado study. 74 But the final version of the 2018 Delgado study clearly states

  that “[t]he study was reviewed and approved by an institutional review board.” 75




  71   Cohen Decl. ¶ 24.
  72  See, e.g., Sonya J. Morgan et al., Case Study Observational Research: A Framework for Conducting
  Case Study Research Where Observation Data Are the Focus, 27 Qualitative Health Rsch. 1060, 1060-
  1068 (2017), https://perma.cc/QN9Z-P48E; Assad A Rezigalla, Observational Study Designs: Synopsis
  for Selecting an Appropriate Study Design, 12 Cureus (2020), https://perma.cc/5UT2-EBVM; Julia FM
  Gilmartin-Thomas et al., Observational studies and their utility for practice, 41 Australian Prescriber
  82 (2018), https://perma.cc/UR2X-VZZH.
  73   Cohen Decl. ¶¶ 21, 30.
  74   Id. ¶ 26.
  75   Delgado et al., supra note 53.



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       59. I disagree with Dr. Cohen’s statement that the 2018 Delgado study “violated

  several ethical standards of medical research.” 76 She does not state what those vio-

  lations are. Based on my decades of experience as a reviewer and IRB member, I see

  no ethical violations in this research, which is a straightforward observational case

  series.

       60. After criticizing the Delgado studies—and ignoring the balance of the scien-

  tific evidence—Dr. Cohen proceeds to cite two studies by Dr. Daniel Grossman for the

  proposition that “[s]cientifically valid research finds insufficient data to support pro-

  gesterone therapy over expectant management.” 77 Neither of the cited studies sup-

  ports this conclusion.

       61. To begin, Dr. Grossman’s 2015 literature review concluded that the “evidence

  is insufficient to determine whether treatment with progesterone after mifepristone

  results in a higher proportion of continuing pregnancies compared to expectant man-

  agement.” 78 But that conclusion was based solely on an analysis of the 2012 Delgado

  study, which of course predates the 2017 Australian study, the 2018 Delgado study,

  the 2020 PRISM study, the 2020 Creinin study, the 2023 DeBiasi study, and the 2023

  Camilleri & Sammut study.

       62. Moreover, Dr. Grossman’s conclusion—that there was insufficient evidence to

  show that progesterone therapy improved fetal survival—was based on the reportedly



  76   Cohen Decl. ¶ 28.
  77   Id. at 16.
  78 Daniel Grossman et al., Continuing Pregnancy after Mifepristone and “Reversal” of First-Trimester
  Medical Abortion: A Systematic Review, 92(3) Contraception 206 (2015), https://perma.cc/ZPB5-KKNY.



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  high continuing pregnancy rates from a series of studies in the 1980s. Based on these

  studies, Dr. Grossman claimed that the continuing pregnancy rate for women who

  take mifepristone alone is up to 46%. 79 But Dr. Grossman’s “systematic review” of 11

  studies included four studies—among them the Zheng study discussed supra at

  ¶ 29—that failed to distinguish between continuing pregnancy and retained “prod-

  ucts of conception” (i.e., an incomplete abortion).” 80 In other words: four of the 11

  studies included in Dr. Grossman’s literature review estimated embryo survival rates

  without using an ultrasound to verify the presence of a living embryo. Further, Dr.

  Grossman failed to include five more studies that did report on whether there was a

  live embryo after the use of mifepristone. 81 These methodological flaws seriously un-

  dermine both Dr. Grossman’s estimates of continuing pregnancy rate and his evalu-

  ation of the efficacy of progesterone therapy relative to expectant management fol-

  lowing mifepristone. 82

       63. Dr. Cohen then states that “Dr. Grossman published a second article, this

  time in the New England Journal of Medicine.” 83 She fails to note that this piece was



  79   Id. at 208.
  80   DeBeasi, supra note 30.
  81   Davenport et al., supra note 28.
  82   Dr. Cohen touts Contraception, the journal in which the 2015 Grossman review was published, as
  a “highly cited journal regularly relied upon by OB/GYNs and clinicians in the reproductive health
  field.” Cohen Decl. ¶ 33. She fails to mention that it is the official journal of the Society of Family
  Planning, which is openly committed to a “vision of just and equitable abortion” and has signed onto
  numerous amicus briefs in court cases concerning abortion access. Society of Family Planning, Diver-
  sity, Equity, and Inclusion, https://perma.cc/G69Q-HN99. Nor does she mention that Dr. Grossman
  has served as a paid advisor to Planned Parenthood. Daniel Grossman ICMJE Form for Disclosure of
  Potential Conflicts of Interest, May 23, 2018, at 2-3, https://perma.cc/V7GZ-3SXQ.
  83 Cohen Decl. ¶ 34 (citing Daniel Grossman & Kari White, Abortion “Reversal”—Legislating Without
  Evidence, 379(16) N. Eng. J. Med. 1401 (2018) (Cohen Decl. Ex.Q)).



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  published in the “Perspective” section of the journal—and is therefore clinical com-

  mentary or opinion, not a research study. In the article, Dr. Grossman criticizes var-

  ious aspects of the 2018 Delgado study. He goes on to claim that “a randomized, pla-

  cebo-controlled trial is the most appropriate study design” for research on abortion

  pill reversal—with no apparent concern for the ethical problems posed by assigning

  women who wish to continue their pregnancies to a placebo group. 84

       64. Dr. Cohen cites a joint practice bulletin from ACOG and the Society of Family

  Planning and the National Abortion Federation clinical policy guidelines as further

  support for her opinions. 85 Both publications claim that there is “no evidence” that

  using progesterone after taking mifepristone increases the likelihood of a continuing

  pregnancy. 86 But both rely exclusively on Grossman’s 2015 study (critiqued above at

  ¶¶ 61-62) and Creinin’s 2020 study (discussed below at ¶¶ 65-67) and address none

  of the other relevant literature.

       65. Dr. Cohen next claims that the other off-label uses of progesterone “that meet

  generally accepted standards of medical practice have been subjected to the research,

  data collection, analysis, and reporting in journals commonly relied upon by practi-

  tioners.” 87 But she does not identify which of the many off-label uses are “generally

  accepted” in her view and which are not. The only example she offers is “the study


  84 Daniel Grossman & Kari White, Abortion “Reversal”—Legislating Without Evidence, 379(16) N.
  Eng. J. Med. 1401, 1493 (2018,) https://perma.cc/8XAV-CQ7A.
  85   Cohen Decl. ¶ 35.
  86 Am. Coll. of Obstetricians & Gynecologists, Practice Bulletin No. 225, Medication Abortion up to
  70 Days of Gestation, 136 Obstetrics & Gynecology 1, 3 (2020) (Cohen Decl. Ex. S); 5 Nat’l Abortion
  Fed’n, Clinical Policy Guidelines for Abortion Care 18 (2020) (Cohen Decl. Ex. T).
  87   Cohen Decl. ¶ 36.



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  [that] … specifically explored the efficacy of progesterone for patients with threatened

  miscarriages in the first trimester”—an apparent reference to PRISM, the same study

  she previously misread as finding no statistical significance for progesterone therapy

  in patients with threatened miscarriage. 88 Moreover, Dr. Cohen is wrong to suggest

  that all other off-label uses for progesterone were subjected to randomized controlled

  trials prior to widespread use within obstetrics. For example, OB-GYNs began using

  progesterone in the 1940s, long before any clinical trials were conducted. The asser-

  tion that off-label drugs can only be legitimately used after clinical trials have been

  performed is false. Finally, Dr. Cohen claims that a 2020 study by Dr. Mitchell

  Creinin raised “significant safety concerns.” 89 Dr. Creinin attempted to conduct a ran-

  domized study on the “efficacy and safety” of abortion pill reversal. The study was

  designed to enroll 40 pregnant women in two control groups—one receiving mifepris-

  tone followed by progesterone, and the other receiving mifepristone followed by a pla-

  cebo. But Dr. Creinin stopped the study after 12 women were enrolled, and only 10

  women completed it.

       66. Dr. Cohen obliquely claims that the Creinin study was halted “because three

  participants experienced severe hemorrhage that required emergency medical

  care.” 90 What she fails to mention is that two of those women were in the placebo

  group, so the only drug they had received was mifepristone. Those women required

  emergency curettage/suction procedures to control bleeding, and one of them required


  88   Id. ¶ 36 (referring to “the study described in paragraph 15 above”); see id. ¶ 16.
  89   Cohen Decl. ¶ 37 (citing Creinin et al., supra note 31).
  90   Cohen Decl. ¶ 38.



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  a blood transfusion. But for the one woman who had received progesterone and had

  significant bleeding, no intervention was required. 91 Nowhere in the study does Dr.

  Creinin contend that progesterone itself is the danger, focusing instead on the pur-

  ported danger of not taking misoprostol.

       67. What Dr. Cohen also fails to mention is that four of the five women (80%) in

  the progesterone group of the Creinin study successfully maintained their pregnan-

  cies, as documented by fetal cardiac activity. In contrast, only two of the women in

  the placebo group (40%) maintained their pregnancies. These results directly under-

  mine her conclusion that progesterone therapy is “no more effective than watchful

  waiting.” 92

       68. In summary, there is scientific evidence that supports the clinical use of pro-

  gesterone to counteract the effects of mifepristone. Progesterone in a variety of for-

  mulations has well established clinical uses and an extensive track record of safety

  and is used off label for several clinical purposes. Multiple studies over time have

  evaluated the use of progesterone to prevent or treat unexplained recurrent miscar-

  riage or early pregnancy bleeding. Research indicates that the continuing pregnancy

  rate after mifepristone alone for abortion is 23-25%. There is evidence that abortion

  pill reversal is a safe and effective option for women who change their minds after

  ingesting mifepristone for abortion. Abortion pill reversal is based on sound basic

  science and biochemistry and evidence suggests that it is safe and reduces the risk of


  91 Creinin et al., supra note 31 (“Heavy bleeding lasted about 3 hours overall, and no intervention
  was needed.”).
  92   Cohen Decl. ¶ 40.



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                         Attachment A
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                                             CURRICULUM VITAE


                                                                           Updated: 4-04-2023

Name: Monique Chireau Wubbenhorst, MD, MPH, FACOG, FAHA
      18420 Bulla Road
      South Bend, IN 46637


Medical licensure:      North Carolina License # XXXXXX, 05-21-2000 to present
                        Indiana, 8-26-2022 to present

Specialty certification(s) and dates:   American Board of Obstetrics and Gynecology, 1997 - present

Date of birth: XX-XX-XXXX               Place: New York, NY

Citizen of: United States

Languages spoken: English, French.

Education:

        Institution                            Degree                                   Date (Year)


        Waterford High School                  High school diploma                      1974-1976

        Mount Holyoke College                  A.B., Biological Sciences                1976-1981

        Oral Roberts Medical School            (None, transferred)                      1986-1988

        Brown University Medical School        M.D.                                     1988-1991

        Harvard University                     Master’s in Public Health                1989-1991

        University of North Carolina           Postdoctoral Fellowship                  2001-2003

Scholarly societies (Alpha Omega Alpha, Sigma Xi, Phi Beta Kappa, etc.): Past member, Sigma Xi; Fellow,
American College of Obstetricians and Gynecologists; Fellow, American Heart Association; member, American
Association of Pro-Life Obstetricians & Gynecologists; member, North Carolina Medical Society; member,
Massachusetts Medical Society.

Other organizations: Board member, Americans United for Life.




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Professional training and academic career (chronologically commencing with first postdoctoral position):

Institution                                      Position/Title                                   Dates


Yale-New Haven Hospital                  Resident, Obstetrics and Gynecology                      1991-1995
New Haven, CT

Beth Israel-Deaconess Medical Center Faculty, Division of Epidemiology and Public Health          1995-1998
Boston, MA                           Department of Obstetrics and Gynecology

Harvard Medical School                   Instructor, Obstetrics-Gynecology                        1995-2000
Boston, MA

University of North Carolina-           Postdoctoral Fellow, North Carolina Program for           2001-2003
Chapel Hill, Chapel Hill, NC            Women's Health Research, Sheps Center for
                                        Health Services Research

                                         Adjunct Clinical Assistant Professor, Division of        2001-2003
                                         Women’s Health, Department of OB/GYN

Center for Health Services Research      Women’s Health Fellow                                    2003-2004
Durham VA Medical Center
Durham, NC

Duke University Medical Center           Assistant Professor, Division of Reproductive Sciences   2003-2018
Durham, NC                               Department of Obstetrics and Gynecology

United States Agency for International Senior Advisor, Office of Population and Reproductive      2018-2019
Development                            Health, Bureau for Global Health
Washington, DC
                                       Deputy Assistant Administrator, Bureau for Global          2019
                                       Health

                                         Senior Deputy Assistant Administrator                    2020-2021
                                         Global Health

University of Notre Dame                 Senior Research Associate, de Nicola Center for          2021 -
                                         Ethics and Culture


Past and Present Hospital and Clinical Affiliations:

Institution                              Position/Title                                           Dates


Beth Israel-Deaconess Medical            Staff Gynecologist                                       1995-1998
Center, Boston, MA

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Dimock Community Health Center        Staff obstetrician-gynecologist                  1995-1996
Roxbury, MA

Dimock Community Health Center        Director, Obstetrics and Gynecology Service      1996-1998
Roxbury, MA                           Dimock Community Health Center


Harvard Vanguard Medical Associates   Staff obstetrician-gynecologist (locum tenens)   1998-1999
Watertown, MA

Mt. Auburn Hospital                   Staff obstetrician-gynecologist (locum tenens)   1999-2000
Cambridge, MA

Somerville Community Health Center    Staff obstetrician-gynecologist                  1998-2000
Somerville, MA

St. Elizabeth Medical Center          Staff obstetrician-gynecologist                  1999-2000
Boston, MA

Hugh Chatham Hospital                 Staff obstetrician-gynecologist (locum tenens)   2000-2017
Elkin, NC

Chinle Indian Hospital                Staff obstetrician-gynecologist (locum tenens)   2000
Chinle, AZ

Fallon Clinic                         Staff obstetrician-gynecologist (locum tenens)   2000-2001
Leominster, MA

WW Hastings Indian Hospital           Staff obstetrician-gynecologist (locum tenens)   2001-2002
Tahlequah, OK

Alamance Regional Hospital            Staff obstetrician-gynecologist (locum tenens)   2003
Burlington, NC

Pine Ridge Indian Hospital            Staff obstetrician-gynecologist (locum tenens)   2003
Pine Ridge, SD

Rosebud Indian Hospital               Staff obstetrician-gynecologist (locum tenens)   2003-2009
Rosebud, SD

Durham VA Medical Center              Staff Gynecologist, Departments of Surgery and   2003-2018
Durham, NC                            Ambulatory Care


Roy Lester Schneider Hospital         Staff obstetrician-gynecologist (locum tenens)   2005-2014
St. Thomas, US Virgin Islands

Chowan Hospital                       Staff obstetrician-gynecologist (locum tenens)   2005-2014
Edenton, NC
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Roanoke-Chowan Hospital                Staff obstetrician-gynecologist (locum tenens)          2007-2008
Ahoskie, NC

The Outer Banks Hospital               Staff obstetrician-gynecologist (locum tenens)          2012-2016
Nags Head, NC

Carteret General Hospital              Staff obstetrician-gynecologist (locum tenens)          2010-2014
Morehead City, NC

Vidant Beaufort Hospital               Staff obstetrician-gynecologist (locum tenens)          2011-2016
Washington, NC

Vidant-Duplin Hospital                 Staff obstetrician-gynecologist (locum tenens)          2014
Kenansville, NC

Vidant Edgecombe Hospital              Staff obstetrician-gynecologist (locum tenens)          2016-2017
Tarboro, NC

Maria Parham Hospital                  Staff obstetrician-gynecologist (locum tenens)          2017
Henderson, NC

Tenwek Mission Hospital                Visiting consultant, Obstetrics and Gynecology          2022-2023
Bomet, Kenya

Publications:

   1. Refereed journals:

       1. Harrison D, Buskmiller C, Chireau M, Ruppersberger L, Yeung P. Systematic review of ovarian activity
          and potential for embryo formation and loss during the use of hormonal contraception. Linacre Q.
          2018 Nov; 85(4): 453–469.

       2. Malloy C, Chireau M, Sander Lee T. The perinatal revolution. Issues in Law and Medicine, Spring
          2019.

       3. Chireau Wubbenhorst M, Wubbenhorst J. Evangelical international organizations and family
          planning. Dignitas Summer 2017; 24(2):11-21.

       4. Chireau Wubbenhorst M, Wubbenhorst J. Should Evangelical Christian organizations support
          international family planning? Christian Journal of Global Health fall, 2017.

       5. Chireau Wubbenhorst, M. Is misoprostol equivalent to oxytocin for postpartum hemorrhage? Issues
          Law Med. 2015 Autumn; 30(2):217-25.

       6. Koch E, Chireau M, Pliego F, Stanford J, Haddad S, Calhoun B, Arecena P, Bravo M, Gatica S, Thorp J.
          Abortion legislation, maternal healthcare, fertility, female literacy, sanitation, violence against
          women, and maternal deaths: a natural experiment in 32 Mexican states. BMJ Open 2015 Feb
          23;5(2):e006013.
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     7. Chireau, M. Gestational diabetes is a significant cardiovascular disease risk factor. BJOG 2014
        Nov;121(12):1537.

     8. Bushnell Cheryl, McCullough Louise D, Awad Issam A, Chireau Monique V, Fedder Wende N, Howard
        Virginia J, Lichtman Judith H, Lisabeth Lynda D, Piña Ileana L, Reeves Mathew J, Rexrode Kathryn M.,
        Saposnik Gustavo, Singh Vineeta, Towfighi Amytis, Vaccarino Viola, Walters Matthew R. Guidelines
        for the Prevention of Stroke in Women: A Statement for Healthcare Professionals from the
        American Heart Association/American Stroke Association Council on Stroke. Circulation 2014 May.

     9. Crochet J, Bastian L, Chireau M. Does this woman have an ectopic pregnancy? JAMA 2013 Apr
        24;309(16):1722-9.

     10. Chireau M. More than an ounce: Editorial commentary on: The 2011 Effectiveness-Based Guidelines
         for the Prevention of Cardiovascular Disease in Women. Available in: American Heart Association
         Learning Library.

     11. Bushnell C, and M. Chireau. Preeclampsia and stroke: risks during and after pregnancy. Stroke
         Research and Treatment 2011 Jan 20;2011:858134.


     12. Brown HL, Small M, Taylor YJ, Chireau M, Howard DL. Near miss maternal mortality in a multiethnic
         population. Ann Epidemiol. 2011 Feb;21(2):73-7.


     13. Schwartz E, Borrero S, Chireau M. Safe Prescribing for women of reproductive age; treatment
         recommendations for the VA. Federal Practitioner, 2009;26(2).

     14. Brown H, Chireau M, Jallah Y, Howard D. The “Hispanic Paradox”: An investigation of racial disparity
         in perinatal outcomes at a tertiary care center medical center. Am J Obstet Gynecol 2007 Aug;
         197(2) e1-7.

     15. Fowler C, Gavin N, Adams EK, Tao G, Chireau M. Racial and ethnic disparities in prenatal syphilis
         screening among women with Medicaid-covered deliveries in Florida. Matern Child Health J 2007 Jul
         18.

     16. Wilson EK, Adams EK, Gavin NI, Chireau M. Patterns in prenatal syphilis screening among Florida
         Medicaid enrollees. Sex Transm Dis, 2006 Nov 6.

     17. Chireau M, Salz T, Bastian L. Pregnant veterans’ outcomes, cost and utilization of care. Federal
         Practitioner, September 2006, 23:9.

     18. Chireau M, Benedict MB, Gavin NI, Adams EK. Gestational diabetes testing among pregnant
         Medicaid recipients: implications for clinical care. Journal of Clinical Outcomes Management, 2006;
         Jun; 13(6):315-332.

     19. Gavin NI, Adams EK, Hartmann KE, Chireau M. Racial and ethnic disparities in the use of pregnancy-
         related health care among Medicaid pregnant women. Matern Child Health J. 2004; Sep;8(3):113-26.


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        20. Hirschhorn LR, Miller L, Chireau M. Papanicolaou smear and follow-up in women with HIV infection
            receiving primary care in an inner-city community health center (CHC): a role for continuous quality
            improvement and quality care. National Center for Women's Health Archive, 1997.

        21. Kresina TF, Cheever LW, Chireau M, Johnson J, Ramirez B, Peters P, Olds GR. Human Epstein-Barr
            virus transformed lymphocytes of patients with Schistosoma japonicum infection secrete
            idiotypically related immunoregulatory antibodies. Clinical Immunology 1992; 65(3):325-9.



    2. Non-refereed publications:

Chireau Wubbenhorst, M. and Baugus B. Does abortion improve economic outcomes for women? A review of the
evidence. Accessible at https://lozierinstitute.org/does-abortion-improve-economic-outcomes-for-women-a-
review-of-the-evidence/

Chireau Wubbenhorst, M. Midtrimester abortion epidemiology, indications and mortality. Accessible at
https://lozierinstitute.org/midtrimester-abortion-epidemiology-indications-and-mortality/

Environmental Health Risks and Your Pregnancy. Public health pamphlet for American Association on
Intellectual and Developmental Disabilities, July 2009.

Primary Care of Women with HIV/AIDS, in Care of HIV-infected Patients in VA, 2008.

    3. Selected abstracts

Chireau M, Crosslin D, Hauser B, Olshan A, Zheng S, Salafia C, Thorp J. Endothelial function gene polymorphisms
are associated with pregnancy outcomes, independent of placental vascular disease. Society for Maternal-Fetal
Medicine Annual Meeting, 2008.

Chireau M, Crosslin D, Hauser B, Olshan A, Zheng S, Salafia C, Thorp J. Polymorphisms in endothelial function
genes are associated with pregnancy outcome in a multi-ethnic North Carolina sample. Society for Maternal-
Fetal Medicine Annual Meeting, 2008.

Chireau M, Bushnell CB, Goldstein L, Brown H, Bastian L. Adverse pregnancy outcomes are associated with
stroke risk later in life. Society for Gynecologic Investigation Annual Meeting, 2006.

Chireau M, Biswas M, Newby K, Brown H, Bastian L. Adverse pregnancy outcomes are associated with increased
risk for mortality. American College of Obstetricians & Gynecologists Annual Meeting, 2006.

Chireau M, Biswas M, Newby K, Brown H, Bastian L. Adverse pregnancy outcomes are associated with coronary
artery and cardiovascular disease risk. American College of Obstetricians & Gynecologists Annual Meeting, 2006.

Chireau M, Bushnell CB, Goldstein L, Brown H, Bastian L. Adverse pregnancy outcomes are associated with
stroke risk later in life. American Neurological Association Annual Meeting, 2005.




Consultant appointments:
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2001-2003      Consultant to RTI International Maternal-Child Health Division

2007-2009      Consultant to Chief Consultant, Women Veterans Health Strategic Healthcare Working Group,
               Veterans Administration Central Office, Washington DC.

Invited Presentations


2005           Panelist, “Thinking outside the box: Designing an effective health care delivery system”, 2nd
               Annual Healthcare Symposium on Patient Satisfaction, Winston-Salem State University School of
               Health Sciences, Winston-Salem, NC.

               “Preeclampsia – the long and the short of it.” Presentation at Stroke Division of Neurology, Duke
               University Medical Center, Durham, NC.

               “Adverse pregnancy outcomes and the risk of stroke.” Presentation at American Society for the
               Study of Stroke in Women, Second Annual Symposium, Durham, NC.

2006           “Adverse pregnancy outcomes and the risk of cardiovascular disease.” Grand Rounds
               presentation, Department of Obstetrics and Gynecology, Duke University Medical Center,
               Durham, NC.

               “Improving outcomes for African American women and children”. Presentation at Shaw
               University Institute for Health, Social and Community Research Annual Conference, Raleigh, NC.

               “Endothelial function gene polymorphisms and the risk of adverse pregnancy outcomes”. Grand
               Rounds presentation, Department of Obstetrics and Gynecology, Duke University Medical
               Center, Durham, NC.

2007           “Teratogenicity of commonly prescribed drugs in the Veterans Administration”. Presentation at
               the National Reproductive Health Working Group, for the Women Veterans Health Strategic
               Healthcare Group. Washington, DC.

               “Neurologic diseases in women’s health” Grand Rounds presentation, Department of Obstetrics
               and Gynecology, Duke University Medical Center, Durham, NC.

               “Adverse pregnancy outcomes and the risk of cardiovascular disease” Presentation to the Carter
               Society, Department of Obstetrics and Gynecology, Duke University Medical Center, Durham,
               NC.

               “Urgent Problems in Women’s Health”. Presentation at the Veterans Administration National
               Primary Care Conference, Washington, DC July 2008.

2009           “Pregnancy and Long-term Health Risk”. Clinical Seminar at the American College of Obstetrics
               and Gynecology Annual Clinical Meeting, Chicago, May 2009.

               “Contraception Issues for Women Veterans”. Presentation at the Veterans Integrated Service
               Network 6 Primary Care Conference, Roanoke Rapids, VA, March 2009.
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2010       “Adolescent Pregnancy As a Development Issue”. Presentation at the United Nations
           Conference on the Status of Women, New York, NY, February 2010.

2011       “Women's Reproductive Health as a Gender, Development, and Human Rights Issue”.
           Presentation at the United Nations Beijing + 15 Conference, New York, NY, February 2011.

           “Sexual Dysfunction in Women”. Live webinar presentation at the VISN Primary Health
           Conference, March 2011.

           “Women's Reproductive Health as a Gender, Development, and Human Rights Issue: Regaining
           Perspective”. Presentation for the Center for Bioethics and Human Dignity, Washington, DC,
           June 2011.

           “Short and Long-term Effects of Pregnancy Termination”. Presentation at Healing Visions
           conference, Milwaukee, WI, October 2011.

2012       “The Future of Roe”. Presentation at The Conference on Reproductive Health and the Law,
           National Press Club, Washington DC, January 2012.

           “Adolescent Health”. Plenary speaker at AXIOS Missión Mujer Conference, Simposium
           Adolescentes en las Políticas Públicas, Guadelajara, México, March, 2012.

           “Women and the Health of Families, Community and Society: Cause or Effect?” Plenary speaker,
           Center for Bioethics and Human Dignity Bioethics Conference, Deerfield, IL, July, 2012.

           “Management of High Risk Pregnancy”. Presentation at the International Conference on
           Maternal Mortality, Dublin, Ireland, September 2012.

           “Management of High Risk Pregnancy in Developing Countries”. Presentation at Pathan
           Hospital, Kathmandu, Nepal, September 2012.

2013       “Contemporary Management of High Risk Pregnancy”. Presentation at the United Nations 56th
           Commission on the Status of Women, New York, NY, March 2013.

           “Roe at 40: What we have learned”. Presentation, Roe at 40 Conference, Stanford Law School,
           Stanford, CA, March 2013.

2014       “Medical and surgical complications of induced abortion”. Presentation at Americans United for
           Life Annual Conference, National Press Club, Washington, DC.

           “Contraception Update”. Presentation at Women Veterans Health Provider Retreat, Raleigh, NC,
           May 2014.

2015       “Is Misoprostol Equivalent to Oxytocin for Postpartum Hemorrhage?”. Presentation at the
           Matthew Bulfinch Educational Conference, Annual Meeting of the American Association of Pro-
           Life Obstetrician-Gynecologists, February 2015.



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               “Medical vs. surgical abortion”. Presentation at the World Congress on Families, Salt Lake City,
               Utah, October 2015.

2016           “The Transformation of Reproductive Health”, Clarke Family Keynote Lecture, Notre Dame
               Institute for Ethics and Culture Medical Ethics Conference, Notre Dame University, South Bend,
               IN.

               “Abortion and Childbirth”, presentation at the Vita Institute, Notre Dame Institute for Ethics and
               Culture, Notre Dame University, South Bend, IN.

               “Maternal Health, the Millennium Development Goals and the Sustainable Development Goals:
               Where are we going and how do we get there?” Presentation at the Coloquio Integral en Salud
               2016, Leon City, Guanajuato, Mexico.

2017           “Safety of Childbirth vs. Abortion”, presentation at the Vita Institute, Notre Dame Institute for
               Ethics and Culture, Notre Dame University, South Bend, IN.

               “Should Evangelical Christian organizations support international family planning?” Presentation
               at the Trent Center for Bioethics & Humanities Series, Duke University, Durham, NC.

2018           “Women Speak: Health Implications of Lower Abortion Rates”. Presentation at the Women
               Speak conference, June 13, 2018, Heritage Foundation, Washington DC.

               “The #MeToo Moment: Second Thoughts on the Sexual Revolution”. Presentation at the Ethics
               and Public Policy Center, Washington, DC.

               “Let Every Soul Be Subject to the Higher Powers: Romans 13, Subsidiarity, and International
               Aid”. Presentation at the Notre Dame Center for Ethics and Culture 2018 Fall Conference, South
               Bend, IN.

               “Partnering with USAID and the Journey to Self-Reliance”. Presentation at the Global Missions
               Health Conference, Louisville, KY.

2021           Response to Opening Keynote: "In Pursuit of Dignity and Freedom: One Perspective on the
               American Experience", de Nicola Center for Ethics and Culture, Notre Dame University.

2022           “Is abortion safer than childbirth?” Presentation at Vita Institute Annual Conference, Notre
               Dame University.

2023           “Challenges and opportunities in building a civilization of love”. Panel presentation for the
               Center for Ethics and Culture’s Women and Children First Initiative, at the National Press Club,
               Washington DC.




Professional awards and special recognitions:

1995-2000      National Health Service Corps Award for clinical practice in health shortage areas
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2001           National Research Service Award from the Agency for Health Care Policy and Research
               for Post-Doctoral Training in Health Services Research, Cecil G. Sheps Center

2008           “Best Poster”, Poster Session V, Society for Maternal-Fetal Medicine Annual Meeting 2008




Organizations and participation:

1/91 – 3/91    Clinical and laboratory field work with the Schistosomiasis Control Project in Palo Leyte and
               Metro Manila, the Philippines; a collaboration between the World Health Organization, the
               Philippines Ministry of Health, Brown University and the University of the Philippines.

4/91           Internal medicine and medical-surgical intensive care at Apollo Hospital, Madras, South India.

10/94          Expanded Training Program in Obstetrics-Gynecology, Alma-Ata Regional Hospital, Kazakhstan,
               the Commonwealth of Independent States. Intersectoral collaboration between the Kazakhstan
               Ministry of Health, Merck and Company, World Vision, and Project MotherCare-Hospital of St.
               Raphael, New Haven, CT.

4/99           Maternal-child health officer with International Health Services Foundation, as part of
               assessment mission to Kosovar refugee camps and clinics in Macedonia during the Kosovo War.

2000           Field work in primary care and maternal-child health, Hope for Africa Ministries,
               Ghana, West Africa.

2001           Jackson Laboratories Summer Statistical Genetics Course

2001, 2002     Member, 2001 and 2002 Objective Review Committees, Expanded Medical Capacity for
               Community Health Centers, Bureau of Primary Health Care, Health Research and Services
               Administration, Washington D.C.

2004 – 2018    Reviewer for the Journal of General Internal Medicine

2004-2016       Duke University Medical Center IRB member

2004 – 2018    Reviewer for The North Carolina Medical Journal

2006 – 2018    Reviewer for The British Journal of Obstetrics and Gynecology

2007           Study section, Centers for Medicare and Medicaid Services grant program, Baltimore, MD

2007           National Reproductive Health Working Group member, Women Veterans Health Strategic
               Healthcare Group, Veterans Administration Central Office, Washington, DC

2007-2009      Member, Project Access of Durham Steering Committee, Durham, NC

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2007-2010         Member, Duke University Medical School Admissions Committee

2007-2009         Consultant to Acting Chief Consultant, Women Veterans Health Strategic Healthcare Working
                  Group, Veterans Administration Central Office, Washington DC.

2008-2009         Member, National Surgical Quality Improvement Program Committee, GYN Surgery
                  Subspecialty, for Women Veterans Health Strategic Healthcare Working Group, and Duke
                  University Medical Center

2008-2010         Summer Institute Program to Increase Diversity in Genetic Research on Complex Heart, Lung
                  and Blood Diseases, sponsored by NHLBI

2009-2018         Member, Cardiovascular Disease in Women and Special Populations National Committee,
                  Clinical Council on Cardiology, American Heart Association

2009-2014         Board Member, Project Access of Durham County

2009              Reviewer, NIH Cardiovascular and Sleep Epidemiology (CASE) ad hoc study section

2010-2012         Co-chair, Cardiovascular Disease in Women and Special Populations National Committee, Clinical
                  Council on Cardiology, American Heart Association

2012-2018         Reviewer, pLOS 1

2014-2018         Member, Advisory Committee for Arts, Sciences and University Transfer, Durham Technical
                  Community College, Durham, NC

2013-2018         Reviewer, Public Health

2014 -2016        Chair, Cardiovascular Disease in Women and Special Populations National Committee, Clinical
                  Council on Cardiology, American Heart Association

2015              Clinical Champion, ICD-10 Rollout, Durham VA Medical Center

2015-             Senior Public Policy Fellow, Notre Dame Institute for Ethics and Culture

2016-             Reviewer, Issues in Law and Medicine

2021-             Reviewer, Journal of Medical Ethics




Courses taught:

1997-1998         Principal Clinical Experience Gynecology Case Conference for first-year medical students,
                  Harvard Medical School. This yearlong course focused on introducing medical students to
                  clinical medicine through case studies, clinical vignettes and basic science and clinical
                  instruction.
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5/99       Obstetrics and Gynecology courses, Semipalatinsk National Medical Academy, Semipalatinsk,
           Kazakhstan. One to two-day courses focused on providing updates to former Soviet Union
           clinicians in basic science and clinical medicine.

2007       “Neurologic and psychiatric diseases in pregnancy and beyond”. Course given at the American
           College of Obstetrics and Gynecology Annual Clinical Meeting, San Diego, CA. This course
           provided an update to practicing obstetricians-gynecologists on the diagnosis and management
           of neurologic and psychiatric disease in women.

           “Rheumatologic disease effects before, during and after pregnancy”. Course given at the
           American College of Obstetrics and Gynecology Annual Clinical Meeting, 2007, San Diego, CA.
           This course provided an update to practicing obstetricians-gynecologists on the diagnosis and
           management of rheumatologic diseases in women.

2008       “Pregnancy and long-term health risk”, course given at the American College of Obstetrics and
           Gynecology Annual Clinical Meeting, 2007, San Diego, May 2008. The goal of the course was to
           introduce practicing obstetrician-gynecologists to the association between pregnancy
           complications and long-term cardiovascular disease in women.
.
2009       “Common Urgent Gynecologic Problems in Women Veterans”, course given at the Veterans
           Integrated Service Network 6 Primary Care Conference, Roanoke Rapids, VA, March 2009. This
           course provided an update for practicing clinicians on urgent gynecologic problems in women
           and their management.

2010       Clinical Skills Course in Obstetrics and Gynecology for second-year medical students, Duke
           University Medical School. This semester-long course was designed to bridge the transition
           between the preclinical-basic science curriculum in medical school and clinical training by
           introducing students to clinical reasoning, case studies, teamwork, and problem-solving.

2015       Clinical Maternal-Child health course for advanced practice nurses at the Mount Zion Special
           Care Nurses’ Training Centers, Buea, Cameroon and Bamenda, Cameroon, West Africa. This two-
           day course taught core concepts in maternal-child health to advanced practice nurses.

2016       Obstetrics and Gynecology course for advanced practice nurses at the Mount Zion Special Care
           Nurses’ Training Centers, Buea, Cameroon and Bamenda, Cameroon, West Africa. This two-day
           course taught gynecology, infectious diseases, and moral ethics to advanced practice nurses.

           Obstetrics and Gynecology course for medical officers and allied health professionals at Kajo Keji
           Medical Training Institute, Kajo Keji, South Sudan. This two-day course provided instruction in
           primary, urgent and emergency care for women to medical officers, pharmacy technicians and
           laboratory technicians.

           Obstetrics and Gynecology course for students at Kajo Keji Midwifery School, Kajo Keji, South
           Sudan. This two-day course provided instruction in obstetrics and gynecology in limited resource
           settings to midwifery students.




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Past and present teaching responsibilities including continuing education:


Director, VA Gynecology Resident Rotation
Director, VA Gynecology Medical Student Rotation
Ambulatory and inpatient medical student and resident education and training
Ambulatory and inpatient Physician Assistant and Nurse Practitioner education and training
Fellow, resident and medical student mentoring
Undergraduate student mentoring

Areas of research interests (basic and applied):

Molecular biology of adverse pregnancy outcomes
Reproductive health and epidemiology, including epidemiology of adverse pregnancy outcomes
Global health
Health services research
Racial-ethnic disparities in women’s health
Adverse pregnancy outcomes and long-term cardiovascular health
Women veterans’ health and healthcare
Ethics in reproductive epidemiology and women’s health



External support (past and present) - gifts, grants, and contracts:

    a) Past:

NIH/NICHD Minority Supplement
Coagulation Polymorphisms and Adverse Pregnancy Outcomes
PI - John Thorp, MD
Role – co-investigator
%Effort – 80%
Purpose – To explore endothelial function gene polymorphisms and measures of uteroplacental vascular
compromise as risk factors for adverse pregnancy outcomes.
Approximate amount – $697,000
Duration – 3/13/03-8/30/07

Centers for Medicare & Medicaid Studies
Shaw-Duke Maternal and Infant Mortality Initiative
PIs – Daniel Howard, PhD; Haywood Brown, MD
Role – co-investigator
%Effort – 25%
Purpose – The goal of this grant was to help reduce racial disparities for pregnant African American Medicaid
recipients by studying patient and health services factors and using an educational intervention to improve
pregnancy outcomes.
Approximate amount – $175,000
Duration – 10/2006-9/2008



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Charles Hammond Fund Foundation Award, Duke University Medical Center Department of Obstetrics and
Gynecology
PI – Monique Chireau, MD, MPH
Role – PI
%Effort – 7%
Purpose – This bridge grant supported continued exploration and development of the Duke Birth Database,
(developed by Dr. Chireau), of pregnancy outcomes at Duke Medical Center over the last 25 years, and the
generation of papers and grant submissions.
Approximate amount – $30,000
Duration – 2006-2008

IPA Agreement (Myers)                                                     12/3/07-12/3/09
Department of Veterans Affairs
Addressing Birth Defect Prevention in Women Veterans
Major goal of project: to assist the Department of Veterans Affairs in development of birth defect prevention
efforts by the Women Veterans Health Strategic Healthcare Group.
Role: Co-PI

Clinical and Translational Science Award Grant (Small/Chireau) 4/3/09 – 12/3/09
Durham Health Innovations
Duke Translational Medicine Institute, Duke Center for Community Research
We hypothesize that an internatal care model focusing on postpartum and preconception prevention and
treatment will have a major impact on maternal-child health in Durham. We propose to plan and design and
multidisciplinary, community-based care model to improve maternal-child health and interrupt the cycle of
events leading to maternal and infant complications in the next pregnancy and beyond.
Role: Co-PI


Duke Clinical Research Unit Pilot Grant Program (Chireau)               4/30/10 – 5/1/2011
Duke University
This pilot grant supported exploration of the association between cardiovascular disease and adverse pregnancy
outcomes in young women.
Role: PI

Clinical, Metabolomic and Proteomic Profiles in Preeclampsia (Chireau)       7/15/10 – 7/14/2011
Duke Translational Medicine Institute
This grant supported proteomic and metabolomic analyses of sera and placental tissue from preeclamptic
women.
Role: PI


Clinical activity:

On sabbatical

Past and present participation in academic and administrative activities:

Duke University Medical Center IRB
Duke Medical School Admissions Committee
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Director, VA Gynecology Resident Rotation
Director, VA Gynecology Medical Student Rotation
Committee member, National Surgical Quality Improvement Program, GYN Surgery Subspecialty, for Duke
University Medical Center and Veterans Administration
Executive Board Member, UNICEF
Executive Board Chair, Maternal and Newborn Health in Fragile Settings, The Partnership for Maternal, Newborn
and Child Health




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